              Case 1:06-cr-00059-AWI Document 442 Filed 07/27/09 Page 1 of 1


 1   LAW OFFICES OF JOSEPH SHEMARIA
     JOSEPH SHEMARIA, Esq., State Bar No. 47311
 2   2029 Century Park East, Suite 1400
     Los Angeles, California 90067
 3
     Telephone: (310) 772-2211
 4
     Attorney for Defendant,
 5   FRANCHESKA BRIZAN
 6
 7
                     IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9
10
        UNITED STATES OF AMERICA,                        NO. 1:06-CR-00059-AWI
11                                          )
                                            )            ORDER PERMITTING TRAVEL TO
12                        Plaintiff,        )            TACOMA, WASHINGTON FROM
                                            )            JULY 28, 2009 TO AUGUST 5, 2009
13            v.                            )
                                            )
14      FRANCHESKA BRIZAN, et al.,          )
                                            )
15                        Defendants.       )
        ____________________________________)
16
17
            The Court, having read and considered Defendant's EX PARTE APPLICATION and
18
     good cause having been shown,
19
            IT IS HEREBY ORDERED that Defendant's Order for pretrial release in the
20
     above-captioned case is hereby amended so as to allow Defendant to travel to Tacoma,
21
     Washington, under such terms and such terms and conditions as Pretrial Services may set from
22
     July 28, 2009 until August 5, 2009.
23
24
     IT IS SO ORDERED.
25
     Dated:    July 24, 2009                         /s/ Anthony W. Ishii
26   0m8i78                                 CHIEF UNITED STATES DISTRICT JUDGE
27
28
